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EXHIBIT 17
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April 15, 2021

Hon. Brian M. Cogan

United States District Judge
Eastern District of New York
271 Cadman Plaza East
Brooklyn, New York 11201.

Re: U.S.A. v. Aaron Weinreb (1:20-cr-00006)
Dear Judge Cogan:

My name is Isaac Zucker and I reside at 318 Westwood Road, Woodmere, New York
11598, In the near future, my friend and neighbor, Dr. Aaron “Ari” Weinreb, will be appearing
before Your Honor for sentencing. It is my fervent hope and prayer that Your Honor, in
determining Ari’s sentence, will consider the words of Abraham Lincoln who said, “I have
always found that mercy bears richer fruits than strict justice”.

I write to Your Honor from a rare, but probably not unique, perspective, lama disbarred
attorney who lost his license when I pled guilty to a charge of grand larceny in the second degree
in February 2013. I served 13 months of a {3 . 4-year sentence in a New York State
Correctional Facility (DIN 13A1736). 1 was granted merit parole in May 2014 and was
discharged early from parole in May 4015. Prior to my conviction I practiced law for over 22
years with an unblemished disciplinary record. My crime had nothing to do with my practice,
but it had everything to do with my addictions.

Although I did not plead guilty to my crime until February 2013, I was arrested in June
9011 and since that time I have been heavily involved in addiction recovery. To this day, 1
regularly attend 12-step meetings and I meet regularly with a therapist. Over time, the more I
learned about my addiction and addiction in general, more and more people came to me asking
me to be their sponsor. Additionally, I became a mentor to members of the Orthodox Jewish
community who were sentenced to prison terms, counseling them on how to adjust to prison life,
maintain their relationships with their loved ones and how to reintegrate into society once
released from prison, After repeated encouragement from my therapist and friends, I applied to
Northwestern University’s mental health counseling master’s degree program. The Covid-19
pandemic put a hold on my education plans, but it has not put a hold on my continuing journey
of recovery.
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As a “fallen” member of the Orthodox Jewish community who has experienced living on
both sides of the law, I have a unique perspective on Ari’s situation. J have known Ari for
almost 20 years. We live a few blocks away from each other and we were members of the same
synagogue. On Friday nights, for the sake of convenience, we attended services at a “house
minyan” that was held at the home directly across the street from Ari’s house. Every week I was
able to witness first-hand the relationship between Ari and his three sons. Whether they sat next
to him or with friends he always kept a watchful eye over them. When he looked at them, the
love, care, compassion and joy shone in his eyes and smile. In the fall, when sun goes down
rather early, his little girls would come across the street (more often than not in pajamas) to be
with him during services. As far as I could tell, Ari and his family would have made excellent
subject for a Norman Rockwell painting.

Ari’s love and dedication were not limited to his family; they extended to his faith and to
his practice of medicine. As the son of an “old-world” general practice doctor (my father
practiced for over 60 years, retiring at the age of 94 and he made house calls right up to his
retirement) who was inducted into New York Magazine’s doctors’ “Hall of Fame”, I could easily
discern the difference between a doctor who was more concerned with ego and money than with
his patients and a doctor who truly cared about his patients — Ati was clearly one of the latter.
As I can only recount second-hand stories of Ari’s medical heroics, I will leave it to others to
provide you with their first-hand experiences. What I do know is that Ari was, and is, loved,
admired and respected by his patients.

It is difficult for me to recall a time seeing Ari on a Sabbath afternoon without having a
tractate of the Talmud in his hand, on his way to or from studying the Talmud with one of his
learning partners. | recall that last year (or it might have been 2 years ago) Ari and his learning
partner raised a significant amount of money for charity by having people sponsor their study of
Talmud. Ari has been a major contributor to numerous charities and has always been considered
a pillar of our community. What I did not know, and no one else in our community knew either,
was that Ari had struggled for years with an almost debilitating internal conflict — his faith and
marriage on one side, and his sexual preferences on the other. Ari’s addiction to certain sexual
behavior ultimately led him down a path that resulted in his arrest. 1 do not condone Ari’s crime,
nor am I trying to minimize it in any way, shape or form; however, 1 think it is important to take

into account that the Ari Weinreb of today is not the same Ari Weinreb who was arrested.

Upon learning of Ari’s arrest, I sent him the following text message: “Ari - [ have been
through the experience of arrest, public humiliation, shattered family and doing time in prison, I
judge no one and have zero ‘nterest in discussing the allegations against you. I would like to
help. | know the feelings of depression, isolation and fear that you are probably experiencing. It
helps to talk. Call me any time, day or night”. Ari took me up on my offer and I have spent
countless hours with him since that day, in person and more recently on the phone, talking about
all aspects of his life, from childhood through the present; no stone was left unturned.

For yeats Ari lived a double life — husband, father, practicing orthodox Jew by day and
philandering homosexual by night. As one who has lived a double life, respected attorney by
day and thief by night, I know the mental, emotional and physical toll that such an existence can
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have ona person. The truly horrible bad decisions that one makes get worse and worse; the risks
taken, spiral out of control until you think you have hit rock bottom, but then you find a way to
dig much deeper. For people in the throes of addiction, seeking help is not something that comes
to mind because “we have everything under control”. To this day, I am amused and amazed by
the questions “What were you thinking? What was your thought process at the time you were
doing these things”? There is no thinking or thought process -- if an addict is capable of thinking
clearly, there would be no such thing as addiction, The only “thought” that goes through an
addict’s mind is “how do I get what I want”, Ari was no different.

Over the last 18 months I have watched Ari put in so much work to overcome his
addiction and that work has paid off— magnificently. The changes Ari has shown were only
possible because he worked very hard at evolving into a better person, While the process is far
from over, Ari has demonstrated his unrelenting commitment to improving himself. For those
who know Ari well, the results of Ari’s efforts have been, and will continue to be, nothing short
of remarkable.

In considering sentencing options, I respectfully request that Your Honor consider the
following: Ari Weinreb is not a pedophile. I acknowledge that I am not a psychiatrist or a
psychologist, but I am comfortable in making this assertion because I have an experience that
few, if any, mental health professionals have ever had — I have served time with pedophiles,
rapists and a variety of other types of sex offenders. I have looked into their eyes as they
recounted the details of their crimes (some with remorse, others with braggadocio) and I can say
with absolute certainty, Ari Weinreb is not one of them. The chances of Ari engaging in the
same type of conduct again are virtually nil. I have 3 children, 2 of whom are boys. While they
are both adults now, 1 can say, without any equivocation, that if they were still in their teens, |
would be perfectly comfortable having them spend time alone with Ari.

It has always been my understanding that there are four reasons for incarceration: (i)
justice, (ii) deterrence, (iii) reform, and (iv) safety. Not one of these reasons applies to Ari’s
case, Justice is often described as “punishment”; evening the scales by isolating an individual
from society to punish him for the crime that has been committed. Although it may seem
clichéd, Ari has been punished enough. Since being released on bail, Ari has been confined to
his parents’ house and has had very little in the way of freedom. Ari has lost his medical license,
been divorced by his wife, and been shunned by many people in the community, | have seen the
effect that all of the above have had on Ari and they far exceed the impact of any term of
incarceration.

It is difficult to understand how imposing a prison term on Ari would deter anyone from
committing a similar crime. If Ari had been found trolling the internet or the back alleys of the
city looking for underage victims, | could understand the concept of deterrence in this case; but
that is not what happened. Imposing a term of incarceration in this case will not deter people
from using internet-based dating sites.

I have witnessed, first-hand, the recovery programs offered in prison and I do not believe
that Ari would be served by any of them. Ari has established a rapport with people in a local
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12-step program and to remove Ari from that program to serve a prison term would not
advance Ari’s recovery, it would only cause a delay. Additionally, as noted above, safety is
not a real concern when it comes to Ari; he does not present a danger to anyone.

While I never had the privilege of appearing before Your Honor when I was practicing
law, I have learned that you have a reputation of being “tough but fair’, I believe that “fair” in
this case calls for Your Honor being merciful in determining Ari’s sentence. I humbly ask that
Your Honor impose some form of alternative sentence or, in the event Your Honor determines
that incarceration is appropriate, the shortest possible sentence.

If you have any questions, please do not hesitate to contact me.

Very truly yours,

Isaac M. Zucker
